          Case 1:18-cv-02846-CRC Document 5 Filed 12/04/18 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )                Case No. 18-2486
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )                MOTION FOR ADMISSION, PRO
                                         )                HAC VICE, OF STEPHEN L.
                           Defendants. )                  TAEUSCH AS ADDITIONAL
                                         )                COUNSEL FOR PLAINTIFF
                                         )


       Plaintiff American Oversight, by and through its undersigned counsel, Joseph F.

Yenouskas, an active member of the United States District Court for the District of Columbia,

hereby moves pursuant to Local Civil Rule 83.2(d), for the pro hac vice admission of Stephen L.

Taeusch, in the above-captioned case. Stephen L. Taeusch is a member in good standing of the

State Bar of California, U.S. Court of Appeals for the Ninth Circuit, U.S. District Court for the

Northern District of California, U.S. District Court for the Eastern District of California, and

U.S. District Court for the Central District of California. He is employed as an attorney with

Goodwin Procter LLP located at 3 Embarcadero Center, San Francisco, CA 94111. In support of

this Motion, Mr. Taeusch’s declaration is filed herewith.

Dated: December 4, 2018                               Respectfully submitted,

                                                      /s/ Joseph F. Yenouskas
                                                      Joseph F. Yenouskas (D.C. Bar No. 414539)
                                                      GOODWIN PROCTER LLP
                                                      901 New York Avenue, NW
                                                      Washington, DC 20001
                                                      (202) 346-4143
                                                      JYenouskas@goodwinlaw.com
